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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :      Case No. 21-CR-00123 (PLF)
              v.                            :
                                            :
VITALI GOSSJANKOWSKI,
                                            :
                      Defendant.            :

                                     NOTICE OF FILING

        The government requests that the attached discovery letter, dated May 7, 2021, be made
part of the record in this case.

                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   Acting United States Attorney


                                            By:    /s/ Michael J. Romano
                                                   Michael J. Romano
                                                   Trial Attorney / Detailee
                                                   IL Bar 6293658
                                                   U.S. Attorney’s Office
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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    May 7, 2021

VIA USAFX and Email
Celia Goetzl, Esq.
Celia_Goetzl@fd.org

Ubong Akpan, Esq.
Ubong_Akpan@fd.org


       Re:      United States v. Vital GossJankowski, 21-CR-123 (PLF)


Dear Counsel:

       Pursuant to our discovery obligations, we are writing to document previous discovery
provided as well as discovery that the government is providing with this letter:

      On April 29, 2021, the government provided the following items:
          o Three videos of different angles of the defendant’s interview on 1/18/21, as
             indicated in the screenshot below




             o The raw video from which the annotated clip was created in two different formats,
               as indicated in the screenshot below. In response to your question about the

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               annotated video, it was created by a Litigation Technology employee in our
               Office (Taylor Davis).




      With this letter, the government is also provided the files listed in the attached index.

(As with all files uploaded to USAfX, they may automatically delete after 60 days per the
automatic retention policy in place. Please download the files before then.)

        Note that all these files will be being formally processed for discovery by the discovery
team assigned to the Capitol Riots cases. As such, the same files will be re-produced with bates-
stamps at a later date. Nevertheless, we wanted to provide you what we can now as we wait for
this processing to be finalized.

Upcoming Discovery

        The government will continue to provide additional discovery on a rolling basis. Like the
files being provided in connection with this letter, all the files will be re-disclosed once
processed and bates-stamped by the discovery team.

        Additionally, once we have a protective order in place in this case, as we have previously
discussed with you, the government will be able to provide additional materials, subject to the
protective order. Specifically, the government will be able to provide the following once the
protective order is in place:
      The name of the Officer who is the victim in this case
      Surveillance footage from the tunnel leading inside the Capitol where the defendant was present
      Documents containing personal identifying information of individuals other than the defendant
       whom tipsters believed to be AFO-98 in a BOLO photo.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let us know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact us if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.


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       We recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. We will provide timely disclosure if any such material
comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, we will provide information
about government witnesses prior to trial and in compliance with the court’s trial management
order.

        We request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. We also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975).
We request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, we
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        We will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact us.

                                       /s/ Cara Gardner
                                      Cara Gardner
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                                       /s/ Michael J. Romano
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